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 9                         UNITED STATES DISTRICT COURT
10                      SOUTHERN DISTRICT OF CALIFORNIA
11
12     SPENCER BUENO, an individual                   Case No.: 3:22-cv-00522-H-BLM
13                                   Plaintiff,
                                                      ORDER:
14     v.
       MERCK & CO., INC., a New Jersey                   (1) GRANTING DEFENDANTS’
15
       Corporation; MERCK SHARP &                            MOTION FOR SUMMARY
16     DOHME CORP., a New Jersey                             JUDGMENT;
17     Corporation; ORGANON & CO., a
       Delaware Corporation; ORGANON LLC,                (2) DENYING AS MOOT
18     a Delaware Limited Liability Company;                 DEFENDANTS’ MOTION TO
       and DOES 1-10, inclusive,                             EXCLUDE OR LIMIT
19
                                                             OPINION TESTIMONY OF
20                                Defendants.                DAVID HEALY; AND
21
                                                         (3) DENYING AS MOOT
22                                                           DEFENDANTS’ MOTION TO
                                                             EXCLUDE OPINIONS OF
23
                                                             DIMA MAZEN QATO
24
                                                      [Doc. Nos. 87, 89, 90.]
25
26
27
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 1          On May 30, 2024, Defendants Merck & Co., Inc. (“Merck”), Merck Sharp & Dohme
 2    Corp. LLC (“MSD”), Organon & Co., and Organon LLC (“Defendants”) filed a motion
 3    for summary judgment, or in the alternative, partial summary judgment. (Doc. No. 90.)
 4    Defendants also filed a motion to exclude or limit the opinion testimony of David Healy
 5    (Doc. No. 87), and a motion to exclude the opinions of Dima Mazen Qato, MPH, PhD
 6    (Doc. No. 89) (collectively, the “Daubert motions”). On July 8, 2024, Plaintiff Spencer
 7    Bueno (“Bueno” or “Plaintiff”) filed a response in opposition to Defendants’ motion to
 8    exclude or limit the opinion testimony of David Healy (Doc. No. 97), and a response in
 9    opposition to Defendants’ motion for summary judgment or partial summary judgment
10    (Doc. No. 98). On July 9, 2024, Plaintiff filed supplemental documents in opposition to
11    Defendants’ motion for summary judgment. (Doc. Nos. 99, 100, 101.) Plaintiff also filed
12    a response in opposition to the motion to exclude the opinions of Dima Mazen Qato, MPH,
13    PhD. (Doc. No. 102.) On July 22, 2024, Defendants filed reply briefs in support of their
14    Daubert motions. (Doc. Nos. 105, 106.) Defendants also filed objections to and motions
15    to strike the individual declarations of Dima Qato (Doc. No. 105-5), and David Healy (Doc.
16    No. 106-2), submitted by Plaintiff in opposition to Defendants’ motion to exclude. On July
17    23, 2024, Defendants filed a reply in support of their motion for summary judgment or, in
18    the alternative, partial summary judgment.      (Doc. No. 107.)    Defendants also filed
19    objections to and a motion to strike the declaration of Dr. Pablo Arango, submitted as
20    Plaintiff’s Exhibit 29. (Doc. No. 107-8.)
21          The Court held a hearing on Defendants’ motion for summary judgment and Daubert
22    motions on August 19, 2024. (Doc. No. 120.) Kimberly L. Beck, Lynne M. Kizis, and
23    Shehnaz M. Bhujwala appeared telephonically for Plaintiff. Paul R. Johnson and Susan V.
24    Vargas appeared for Defendants. (Id.) For the reasons below, the Court grants Defendants’
25    motion for summary judgment and denies Defendants’ Daubert motions and motions to
26    strike as moot.
27    ///
28    ///

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 1                                         BACKGROUND
 2          A. Singulair’s Regulatory Background
 3          Defendants Merck and MSD (the “Merck Defendants”) are New Jersey corporations
 4    that manufacture and sell pharmaceutical drugs. (Doc. No. 1-2, Compl. ¶¶ 12–13.) One
 5    of these drugs is Singulair, which includes the active ingredient montelukast. (Id. ¶ 2; Doc.
 6    No. 90-6, Defs.’ Ex. 3, at 13 ¶ 11.) Singulair is prescribed for the treatment of asthma, the
 7    prevention of exercise-induced bronchoconstriction, and relief of symptoms of allergic
 8    rhinitis. (Doc. No. 1-2, Compl. ¶ 1.) Merck patented Singulair in 1996 and the Merck
 9    Defendants began selling Singulair in 1998 after it was approved by the United States Food
10    and Drug Administration (FDA). (Id. ¶¶ 2, 28; Doc. No. 90-4, Defs.’ Ex. 1; Doc. No. 90-
11    5, Defs.’ Ex. 2.) The Merck Defendants were the exclusive manufacturers, distributors,
12    and sellers of Singulair from 1998 to mid-2012. (Doc. No. 1-2, Compl. ¶ 13.) On August
13    3, 2012, Merck’s patent expired and generic montelukast drugs entered the market. (Id. ¶
14    28.) At some point after March 4, 2020, the Merck Defendants assigned some unspecified
15    rights, liabilities, or control over Singulair to their subsidiary, Organon & Co., and its
16    subsidiary, Organon LLC (the “Organon Defendants”).            (Id. ¶ 14.)    The Organon
17    Defendants are organized under the laws of Delaware and have their principal places of
18    business in New Jersey. (Id.)
19          Originally, the Singulair label contained no warnings regarding neuropsychiatric
20    events. (Id. ¶ 3.) Since its introduction, however, Defendants have added warnings to
21    Singulair’s product label regarding neuropsychiatric events. (Id., see Doc. No. 99 ¶¶ 1–
22    156.) On March 4, 2020, the FDA required Defendants to add the strongest type of warning
23    (a “black box warning”) to Singulair’s label regarding neuropsychiatric events. (Doc. No.
24    99 ¶ 144; Doc. No. 90-87, Defs.’ Ex. 83.1.)
25          B. Factual Background regarding Plaintiff’s Use of Montelukast
26          Plaintiff Spencer Bueno’s (“Bueno”) medical records indicate that he was prescribed
27    montelukast by Florida physicians from October 2019 to December 2020, and last filled
28    his montelukast prescription on March 5, 2021. (Doc. No. 99 ¶¶ 158, 159, 168, 180, 188.)

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 1                 1. Singulair Warnings in Effect When Bueno Was Prescribed
                      Montelukast
 2
 3          It is undisputed that at the time Bueno was first prescribed montelukast in 2019, the
 4    Singulair label included the following information.
 5          The HIGHLIGHTS OF PRESCRIBING INFORMATION section on the first page
 6    of the December 2018 label, in effect in 2019, included the following warning:
 7          Neuropsychiatric events have been reported with SINGULAIR. Instruct
            patients to be alert for neuropsychiatric events. Evaluate the risks and
 8
            benefits of continuing treatment with SINGULAIR if such events occur (5.4
 9          and 6.2).
10
      (Id. ¶ 151; Doc. No. 90-90, Defs.’ Ex. 86 at 2.)
11
            The WARNINGS AND PRECAUTIONS section of the label stated the following:
12
            5.4 Neuropsychiatric Events
13
            Neuropsychiatric events have been reported in adult, adolescent, and
14
            pediatric patients taking SINGULAIR. Post-marketing reports with
15          SINGULAIR use include, but are not limited to, agitation, aggressive
            behavior or hostility, anxiousness, depression, disorientation, disturbance in
16
            attention, dream abnormalities, hallucinations, insomnia, irritability, memory
17          impairment, obsessive-compulsive symptoms, restlessness, somnambulism,
            suicidal thinking and behavior (including suicide), tic, and tremor. The
18
            clinical details of some post-marketing reports involving SINGULAIR
19          appear consistent with a drug-induced effect.
20
            Patients and prescribers should be alert for neuropsychiatric events. Patients
21          should be instructed to notify their prescriber if these changes occur.
            Prescribers should carefully evaluate the risks and benefits of continuing
22
            treatment with SINGULAIR if such events occur [see Adverse Reactions
23          (6.2)].
24
      (Doc. No. 99 ¶ 152; Doc. No. 90-90, Defs.’ Ex. 86 at 4–5.)
25
            Under ADVERSE REACTIONS, Section 6.2 Post-Marketing Experience of the
26
      November 2014 label included the statement:
27
            The following adverse reactions have been identified during post-approval
28

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 1          use of SINGULAIR. Because these reactions are reported voluntarily from
            a population of uncertain size, it is not always possible to reliably estimate
 2
            their frequency or establish a causal relationship to drug exposure . . . .
 3
            Psychiatric disorders: including, but not limited to, agitation, aggressive
 4
            behavior or hostility, anxiousness, depression, disorientation, disturbance in
 5          attention, dream abnormalities, hallucinations, insomnia, irritability, memory
            impairment, obsessive-compulsive symptoms, restlessness, somnambulism,
 6
            suicidal thinking and behavior (including suicide), tic, and tremor [see
 7          Warnings and Precautions (5.4)].
 8
      (Doc. No. 99 ¶¶ 153–54; Doc. No. 90-90, Defs.’ Ex. 86 at 7.)
 9
            Section 17, Patient Counseling Information, stated: “Patients should be instructed to
10
      notify their physician if neuropsychiatric events occur while using SINGULAIR.” (Doc.
11
      No. 99 ¶ 155; Doc. No. 90-90, Defs.’ Ex. 86 at 20.)
12
            The Patient Information leaflet, that comes with Singulair, directs patients to read it
13
      “before you start taking [Singulair] and each time you get a refill.” (Doc. No. 90-90, Defs.’
14
      Ex. 86 at 22.) The leaflet identifies the following side effects:
15
            Behavior and mood-related changes. Tell your healthcare provider right
16
            away if you or your child have any of these symptoms while taking
17          SINGULAIR:
            • agitation including aggressive     • memory problems
18
               behavior or hostility             • obsessive-compulsive symptoms
19          • attention problems                 • restlessness
            • bad or vivid dreams                • sleep walking
20
            • depression                         • suicidal thoughts and actions
21          • disorientation (confusion)           (including suicide)
            • feeling anxious                    • tremor
22
            • hallucinations (seeing or hearing  • trouble sleeping
23             things that are not really there) • uncontrolled muscle movements
            • irritability
24
25    (Doc. No. 99 ¶ 156; Doc. No. 90-90, Defs.’ Ex. 86 at 24.)
26    ///
27    ///
28    ///

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 1                 2. Healthcare Professionals Who Prescribed Bueno Montelukast
 2          Bueno saw two Florida physicians who prescribed him montelukast for treatment of
 3    allergies, Dr. Pablo Arango and Dr. Jessica Schwartz.1 (Doc. No. 99 ¶¶ 158, 180; Doc. No.
 4    100-37, Pl.’s Ex. 26 [Bueno Dep.] at 83:22-25; Doc. No. 90-96, Defs.’ Ex. 92 [Schwartz
 5    Dep.] at 4:25–6:1-25.) In October 2019, Bueno established care with Dr. Arango for
 6    evaluation and treatment of chronic sinusitis. (Doc. No. 99 ¶ 157.) On October 2, 2019,
 7    in Miami Beach, Florida, Dr. Arango prescribed Bueno 10 mg of montelukast (id. ¶ 158),
 8    believing at the time that the benefits to Bueno outweighed the risks. (Doc. No. 90-31,
 9    Defs.’ Ex. 28 [Arango Dep.] at 16:15-18, 17:14-18.) Bueno never told Dr. Arango that
10    Bueno experienced suicidality. (Doc. No. 107-5, Defs.’ Reply Ex. 102 [Arango Dep.] at
11    112:25–113:24, 119:6–120:4, 123:17–124:22, 128:18–129:11, 133:2–134:13, 161:5–
12    162:4). Bueno filled his prescription for montelukast from Dr. Arango at a CVS pharmacy
13    in Hallandale Beach, Florida on October 2, 2019, November 6, 2019, January 23, 2020,
14    February 20, 2019, March 16, 2020, June 10, 2020, and September 6, 2020. (Doc. No. 99
15    ¶ 159.) Dr. Arango did not treat Bueno after November 2019. (Id. ¶ 167.)
16          In April 2020, Dr. Schwartz, who practiced in Baco Raton, Florida, first saw Bueno
17    to address Bueno’s anxiety and history of taking Zantac. (Id. ¶ 173; Doc. No. 90-96, Defs.’
18    Ex. 92 [Schwartz Dep.] at 6:6-25, 8:13-21.) On September 29, 2020, Dr. Schwartz renewed
19    Bueno’s montelukast prescription. (Doc. No. 99 ¶ 180.) Bueno filled his prescription for
20    montelukast from Dr. Schwartz at a Walgreens in Pompano Beach, Florida, on September
21    29, 2020, and March 5, 2021. (Id. ¶ 188.) Dr. Schwartz testified that the last time she saw
22    Bueno as a patient was December 10, 2020. (Doc. No. 90-96, Defs.’ Ex. 92 [Schwartz
23    Dep.] at 36:18-21.) At the visit, Bueno denied any suicidal/homicidal ideation. (Id. at
24    30:13-25.)
25
26    1
            It is undisputed that Bueno only consumed generic montelukast rather than the
27    brand-name version of the medication, Singulair. (Doc. No. 81 at 2 n.3 (The parties’ joint
      motion stating: “Discovery has confirmed both Plaintiffs [Spencer Bueno and Richard
28
      Parker] only ingested generic montelukast.”).)

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 1          Bueno testified that his onset of symptoms, including aggression, hostility,
 2    suicidality, self-harm, depression, OCD, and tics and tremors, began one to two months
 3    after he first took montelukast, at the end of 2019. (Doc. No. 90-93, Defs.’ Ex. 89 [Bueno
 4    Dep.] at 16:4–20:21.) Bueno also testified that in December 2022, he attempted to jump
 5    out of a moving vehicle in Miami, Florida, which he characterizes as a suicide attempt.
 6    (Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at 54:16-25–55:1-12.)
 7                 3. Plaintiff’s Residency
 8          Bueno has spent significant time in California and Florida. Bueno was born in
 9    California in 1978, has a California driver’s license, and identifies himself as a “life-long
10    California resident.” (Doc. No. 101 ¶ 64; Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at
11    26:13-25–27:6-8; Doc. No. 98 at 18.) Beginning in 2017, he rented a house in San Diego,
12    California with his friends that he used as a “crash pad” while traveling, and which he
13    continues to use. (Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at 27:13-25–28:1-8.)
14          Beginning in 2019, Plaintiff Bueno started spending significant time in Florida with
15    his girlfriend (now fiancée), while maintaining his California residence. (Doc. No. 107-1
16    ¶ 66; Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at 29:8-23, 38:7-25–39:1-17.) During
17    this time, Defendants assert that Bueno also had a Florida driver’s license and filed taxes
18    in Florida. (Doc. No. 107-1 ¶ 64.) Bueno testified that in 2020, 2022, and 2023 he spent
19    more time in Florida than in California. (Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at
20    29:8-23.) Bueno estimates that in 2021, he split his time equally between California and
21    Florida. (Id. at 29:16-19.)
22          C.     Procedural Background
23          On March 3, 2022, Bueno and Richard Parker (“Parker”) filed their complaint in the
24    Superior Court of the State of California, County of San Diego. (Doc. No. 1-2.) The case
25    was subsequently removed and then transferred to this Court based on diversity
26    jurisdiction. (Doc. Nos. 1, 7.) The complaint asserts six causes of action: (1) strict
27    liability—design defect (Count I); (2) strict liability—failure to warn (Count II); (3)
28    negligence (Count III); (4) negligent misrepresentation (Count IV); (5) breach of express

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 1    warranty (Count V); and (6) breach of implied warranty (Count IV). (Doc. No. 1-2,
 2    Compl. ¶¶ 104–234.)
 3          On April 22, 2022, Defendants moved to dismiss all claims pursuant to Fed. R. Civ.
 4    P. 12(b)(2) on the basis that the Court lacked personal jurisdiction over them and moved
 5    to dismiss most claims pursuant to Fed. R. Civ. P. 12(b)(6) on the basis that Plaintiffs
 6    Bueno and Parker (“Plaintiffs”) failed to state a claim for which relief may be granted.
 7    (Doc. No. 6.) On September 8, 2022, the Court granted in part and denied in part
 8    Defendants’ motion to dismiss. (Doc. No. 16.) The Court dismissed Plaintiffs’ claims for
 9    strict liability—design defect (Count I) and manufacturing defect (part of Count III). (Id.)
10    The Court denied Defendants’ motion as to all other claims. (Id.)
11          On July 20, 2023, Defendants filed a motion to dismiss Bueno’s remaining claims
12    for lack of personal jurisdiction. (Doc. No. 62.) On October 16, 2023, the Court denied
13    the motion to dismiss. (Doc. No. 71.)
14          On May 10, 2024, the parties filed a joint motion to sever Parker’s claims (“Joint
15    Motion to Sever”). (Doc. No. 81.) On May 20, 2024, the Court granted the Joint Motion
16    to Sever, and Plaintiff Parker was severed from this case.2 (Doc. No. 84.)
17          By the present motion, Defendants move for summary judgment on all remaining
18    claims brought by Bueno. (Doc. No. 90.) In response to Defendants’ motion, Bueno
19    voluntarily dismissed all his causes of action other than two claims related to his use of
20    generic montelukast: (1) negligence (Count III) and (2) negligent misrepresentation (Count
21    IV). (Doc. No. 98 at 6.)
22    ///
23    ///
24    ///
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27    2
           On May 23, 2024, pursuant to the Court’s May 20, 2024 order, Plaintiff Parker filed
      a new action against Defendants. See Parker v. Merck & Co., Inc., 24-cv-916-H-BLM,
28
      Docket Entry No. 1 (S.D. Cal., filed May 23, 2024).

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 1                                          DISCUSSION
 2    I.    Legal Standards Governing Summary Judgment
 3          Summary judgment is appropriate under Federal Rule of Civil Procedure 56 if the
 4    moving party demonstrates “that there is no genuine dispute as to any material fact and the
 5    movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v.
 6    Catrett, 477 U.S. 317, 322 (1986). Material facts are facts that, under the governing
 7    substantive law, may affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477
 8    U.S. 242, 248 (1986). A dispute as to a material fact is genuine if there is sufficient
 9    evidence for a reasonable jury to return a verdict for the non-moving party. Id. “Disputes
10    over irrelevant or unnecessary facts will not preclude a grant of summary judgment.” T.W.
11    Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987).
12          A party seeking summary judgment always bears the initial burden of demonstrating
13    that there is no genuine dispute as to any material fact. Celotex, 477 U.S. at 323. A moving
14    party without the ultimate burden of proof at trial can satisfy its burden in two ways: (1)
15    by presenting “evidence negating an essential element of the nonmoving party’s claim or
16    defense;” or (2) by demonstrating “that the nonmoving party does not have enough
17    evidence of an essential element to carry its ultimate burden of persuasion at trial.” Nissan
18    Fire & Marine Ins. Co. v. Fritz Companies, Inc., 210 F.3d 1099, 1102 (9th Cir. 2000).
19          Once the moving party establishes the absence of a genuine dispute as to any
20    material fact, the burden shifts to the nonmoving party to “set forth, by affidavit or as
21    otherwise provided in Rule 56, ‘specific facts showing that there is a genuine issue for
22    trial.’” T.W. Elec. Serv., 809 F.2d at 630 (quoting former Fed. R. Civ. P. 56(e)); accord
23    Horphag Research Ltd. v. Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007). To carry this
24    burden, the non-moving party “may not rest upon mere allegation or denials of his
25    pleadings.” Anderson, 477 U.S. at 256; see also Behrens v. Pelletier, 516 U.S. 299, 309
26    (1996) (“On summary judgment, . . . the plaintiff can no longer rest on the pleadings.”).
27    Rather, the nonmoving party “must present affirmative evidence . . . from which a jury
28    might return a verdict in his favor.” Anderson, 477 U.S. at 256.

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 1           When ruling on a summary judgment motion, the court must view the facts and draw
 2     all reasonable inferences in the light most favorable to the non-moving party. Scott v.
 3     Harris, 550 U.S. 372, 378 (2007). The court should not weigh the evidence or make
 4     credibility determinations. See Anderson, 477 U.S. at 255. “The evidence of the non-
 5     movant is to be believed.” Id. Further, the court may consider other materials in the record
 6     not cited to by the parties, but it is not required to do so. See Fed. R. Civ. P. 56(c)(3); see
 7     also Simmons v. Navajo Cnty., 609 F.3d 1011, 1017 (9th Cir. 2010) (“[A] district court
 8     has no independent duty ‘to scour the record in search of a genuine issue of triable fact.’”).
 9     II.   Choice of Law
10           The parties disagree as to whether California or Florida substantive law applies—
11     Defendants argue that Florida law applies, barring innovator liability (Doc. No. 90-1 at 17–
12     20), whereas Plaintiff argues that California law applies (Doc. No. 98 at 18–19).           “A
13     federal court sitting in diversity must look to the forum state’s choice of law rules to
14     determine the controlling substantive law.” Zinser v. Accufix Research Institute, Inc., 253
15     F.3d 1180, 1187 (9th Cir. 2001), opinion amended on denial of reh’g, 273 F.3d 1266 (9th
16     Cir. 2001). California district courts sitting in diversity determine questions of choice of
17     law by the “governmental interest analysis”. See id.; see also Offshore Rental Co. v.
18     Continental Oil Co., 22 Cal. 3d 157, 161 (1978). The governmental interest analysis
19     involves three steps:
20           First, the court must determine whether the substantive laws of California and
             the foreign jurisdiction differ on the issue before it. Second, if the laws do
21
             differ, then the court must determine what interest, if any, the competing
22           jurisdictions have in the application of their respective laws. If only one
             jurisdiction has a legitimate interest in the application of its rule of decision,
23
             there is a “false conflict” and the law of the interested jurisdiction is applied.
24           But if more than one jurisdiction has a legitimate interest, the court must move
             to the third stage of the analysis, which focuses on the comparative
25
             impairment of the interested jurisdictions. This third step requires the court
26           to identify and apply the law of the state whose interest would be the more
             impaired if its law were not applied.
27
28

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 1     Rustico v. Intuitive Surgical, Inc., 993 F.3d 1085, 1091 (9th Cir. 2021) (quoting Cooper
 2     v. Tokyo Elec. Power Co. Holdings, 960 F.3d 549, 599 (9th Cir. 2020) (internal citations
 3     omitted)).
 4           First, the parties agree that California and Florida substantive law differ on the issue
 5     before the Court. (Doc. No. 90-1 at 19; Doc. No. 98 at 18.) Under California law, brand
 6     name pharmaceutical manufacturers can be held liable for representations made on their
 7     product label, regardless of whether a consumer is prescribed the brand-name drug or its
 8     generic bioequivalent. See T.H. v. Novartis Pharmaceuticals Corp., 4 Cal. 5th 145, 165
 9     (2017).      By contrast, “Florida law does not recognize a claim against the brand
10     manufacturer of a prescription drug when the plaintiff is known to have consumed only the
11     generic form.” Guarino v. Wyeth, LLC, 719 F.3d 1245, 1253 (11th Cir. 2013). Because
12     it is undisputed that Bueno only consumed generic montelukast, and not the brand-name
13     version, Singulair (see Doc. No. 81 at 2 n.3), California and Florida substantive law differ
14     as to Defendants’ potential liability for Plaintiff’s remaining claims.
15           Second, both California and Florida have legitimate interests in the application of
16     their respective laws. California has an interest in its products liability and consumer
17     protection laws applying to California residents and persons injured within its borders.
18     Chen v. Lo Angeles Truck Centers, LLC, 42 Cal. App. 5th 488, 502–03 (2019). Plaintiff
19     has a California driver’s license, identifies as a California resident, ingested montelukast
20     in California, and claims to have experienced injury in California. (Doc. No. 107-1 ¶ 72;
21     Doc. No. 98 at 18). Florida also has legitimate interests. Bueno lived in Florida, had a
22     Florida driver’s license, and filed taxes in Florida. (Doc. No. 107-1 ¶ 64.) Bueno’s claims
23     arise out of events that occurred in Florida—Bueno was prescribed montelukast in Florida,
24     by physicians based in Florida, while Bueno resided in Florida. (Doc. No. 99 ¶¶ 158, 180;
25     Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at 83:22-25; Doc. No. 90-96, Defs.’ Ex. 92
26     [Schwartz Dep.] at 6:6-25.) Bueno also claims he was injured in Florida. (Doc. No. 107-
27     1 ¶ 77; Doc. No. 100-37, Pl.’s Ex. 26 [Bueno Dep.] at 54:16-20.)
28

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 1           The California Supreme Court case, McCann v. Foster Wheeler LLC, 48 Cal. 4th
 2     68, 96–102 (2010), is instructive here for comparing the relative impairment of the
 3     interested jurisdictions. In McCann, a former construction worker brought a personal
 4     injury action against a boiler manufacturer for mesothelioma, allegedly caused by asbestos
 5     exposure in Oklahoma. 48 Cal. 4th at 74. After his alleged exposure to asbestos, the
 6     worker resided in several different states, but eventually took residence in California,
 7     where he filed his personal injury action after becoming ill. Id. The McCann court
 8     determined that California’s interest should be subordinate to Oklahoma’s interest because
 9     the allegedly tortious conduct occurred in Oklahoma and Oklahoma had adopted a “statute
10     of repose,” limiting the liability for commercial activity conducted within the state to
11     provide “fair treatment to, and an appropriate incentive for, business enterprises.” Id. at
12     91. The McCann court held, “when the law of the other state limits or denies liability for
13     the conduct engaged in by the defendant in its territory, that state’s interest is predominant,
14     and California’s legitimate interest in providing a remedy for, or in facilitating recovery
15     by, a current California resident properly must be subordinated because of this state’s
16     diminished authority over activity that occurs in another state.” Id. at 101.
17           Here, the relevant conduct underlying Plaintiff’s remaining claims is Defendants’
18     alleged failure to adequately warn Plaintiff’s prescribers of the risks of montelukast. Under
19     both California and Florida law, the learned intermediary doctrine provides that
20     manufacturers have a duty to warn physicians, but not the physicians’ patients, about
21     certain risks accompanying the use of prescription drugs. See Himes v. Somatics, LLC, 16
22     Cal. 5th 209, 221 (2024) (California Supreme Court applying learned intermediary doctrine
23     to failure to warn claim); Beale v. Biomet, Inc., 492 F. Supp. 2d 1360, 1365 (S.D. Fla.
24     2007) (“Florida recognizes the learned intermediary doctrine, which provides that, in cases
25     of prescription drugs, the manufacturer’s duty runs to the physician, rather than the
26     patient.”) (citing Felix v. Hoffmann-LaRoche, Inc., 540 So. 2d 102, 104 (Fla. 1989)). The
27     relevant conduct at issue here occurred entirely in Florida. The two individuals from whom
28     Bueno received montelukast prescriptions, Dr. Arango and Dr. Schwartz, practiced in

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 1     Florida, saw Bueno in Florida, and issued prescriptions for montelukast in Florida. (See
 2     Doc. No. 99 ¶ 158; Doc. No. 90-96, Defs.’ Ex. 92 [Schwartz Dep.] at 6:6-25.) Bueno
 3     also filled his montelukast prescriptions in Florida. (See Doc. No. 99 ¶¶ 159, 188.) In
 4     addition, similar to the Oklahoma law in McCann that limited liability to out-of-state
 5     companies that conducted business in Oklahoma, 48 Cal. 4th at 91, here, Florida law denies
 6     brand-name pharmaceutical manufacturers liability for a consumer who only ingested the
 7     generic form of a drug, rather than the brand-name, see Guarino, 719 F.3d at 1253. Given
 8     that Bueno only ingested generic montelukast and not Singulair (Doc. No. 81 at 1 n.3), and
 9     Florida law bars innovator liability for generic drugs, the reasoning in McCann favors the
10     application of Florida law over California law. See McCann 48 Cal. 4th at 97.
11            Bueno asserts that he experienced injury in California. (Doc. No. 98 at 18.) But the
12     purported situs of the injury “does not automatically control which state’s laws apply to [a
13     plaintiff’s] claims.” Nelson v. F. Hoffmann-La Roche, Inc., 642 F. Supp. 3d 1115, 1135
14     (N.D. Cal. 2022) (citing Boaz v. Boyle & Co., 40 Cal. App. 4th 700, 713 (1995)). Rather,
15     it is merely a “‘relevant consideration.’” Id. And, here, Plaintiff’s assertion that he
16     experienced injury in California is only a minor consideration given that he asserts that he
17     experienced injury in Florida as well. (See Doc. No. 98 at 18.) Further, the fact that Bueno
18     may currently be a California resident is not dispositive. See McCann, 48 Cal. 4th at 97–
19     103 (finding Oklahoma law applied even though the plaintiff was a current California
20     resident). In sum, Florida law applies.
21            Because Bueno only ingested generic montelukast, (Doc. No. 81 at 1 n.3), and
22     Florida law bars all innovator liability for individuals who take the generic form of a drug,
23     see Guarino, 719 F.3d at 1253, Bueno’s two remaining claims for negligence and negligent
24     misrepresentation are barred. As a result, the Court grants summary judgment of Plaintiff’s
25     negligence and negligent misrepresentation claims in favor of Defendants.
26     III.   Plaintiff’s Negligent Failure to Warn Claims
27            While the Court grants Defendants’ motion for summary judgment for the reasons
28     set forth above, the Court will also address Defendants’ additional grounds for summary

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 1     judgment.    Bueno’s negligent failure-to-warn claims also fail under California law.
 2     California’s learned intermediary doctrine applies to negligent failure-to-warn claims.
 3     Himes v. Somatics, LLC, 16 Cal. 5th 209, 221 (2024); see also Thomas v. Abbott Lab’ys,
 4     2014 WL 4197494, at *5 (C.D. Cal. July 29, 2014). “The learned intermediary doctrine
 5     provides that manufacturers have a duty to warn physicians, but not the physicians’
 6     patients, about certain risks accompanying use of their prescription drugs and many
 7     medical devices.” Himes, 16 Cal. 5th at 221; see also Carlin v. Superior Ct., 13 Cal. 4th
 8     1104, 1116 (1996) (“[I]n the case of prescription drugs, the duty to warn runs to the
 9     physician, not to the patient.” (emphasis in original)). “The doctrine’s rationale is that
10     warnings pertaining to prescription drugs and medical devices should be relayed to patients
11     by their physicians—rather than by the manufacturer—because physicians are in a better
12     position to assist patients in deciphering and evaluating the warnings.” Himes, 16 Cal. 5th
13     at 227. In other words, “[a]s long as the manufacturer has adequately warned the patient’s
14     physician of the non-negligible risks of its prescription drug or medical device, the
15     manufacturer has fulfilled its duty to warn.” Id. at 221. Under California law, a drug
16     manufacturer’s duty to warn by providing an adequate label extends to the generic
17     equivalent version of a brand-name drug because “[g]eneric drug manufacturers are
18     required to follow the brand-name manufacturer’s label to the letter.” T.H. v. Novartis
19     Pharms. Corp., 4 Cal. 5th 145, 155 (2017).
20           The determination as to whether a warning for a prescription medication is adequate
21     “depends on ‘how a prescribing doctor would understand the label.’” Rodman v. Otsuka
22     Am. Pharm., Inc., 564 F. Supp. 3d 879, 891 (N.D. Cal. 2020), aff’d, No. 20-16646, 2021
23     WL 5850914 (9th Cir. Dec. 9, 2021) (citing Hexum v. Eli Lilly & Co., 2015 WL 5008263
24     at *7 (C.D. Cal. 2015)). “There can be no genuine dispute about the adequacy of a warning
25     that directly warns in plain and explicit terms of the specific risk that has caused injury to
26     the plaintiff.” Id. (internal quotation marks omitted).
27           “‘A plaintiff asserting causes of action based on a failure to warn must prove not
28     only that no warning was provided or the warning was inadequate, but also that the

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 1     inadequacy or absence of the warning caused the plaintiff’s injury.’” Himes v. Somatics,
 2     LLC, 29 F.4th 1125, 1126 (9th Cir. 2022), certified question answered, 16 Cal. 5th 209,
 3     (2024) (quoting Motus v. Pfizer Inc., 196 F. Supp. 2d 984, 991 (C.D. Cal. 2001), aff’d, 358
 4     F.3d 659 (9th Cir. 2004)); see also Rodman, 564 F. Supp. 3d at 892 (“[E]ven if a warning
 5     was inadequate, ‘a product defect claim based on insufficient warnings cannot survive
 6     summary judgment if stronger warnings would not have altered the conduct of the
 7     prescribing physician.’” (quoting Motus v. Pfizer Inc. (Roerig Div.), 358 F.3d 659, 661
 8     (9th Cir. 2004))). To prove causation, the plaintiff must prove that a failure to warn was a
 9     “substantial factor” in causing the injury. See Himes, 16 Cal. 5th at 222. Additionally,
10     “[w]here the evidence shows that the physician would have continued to recommend the
11     treatment notwithstanding the stronger warning,” a plaintiff can also prove causation by
12     proving “that an objectively prudent person in the patient’s position would have declined
13     treatment despite the physician’s assessment that the benefits of the treatment for the
14     patient would still outweigh any risks disclosed by a stronger warning.” Id. at 219.
15                  A.     Duty to Adequately Warn Physicians
16           It is undisputed that at the time Plaintiff was first prescribed montelukast in 2019,
17     the Singulair label contained warnings regarding neuropsychiatric events and psychiatric
18     disorders in the Highlights of Prescribing Information section on the first page of the label
19     (Doc. No. 99 ¶ 151), in the Warnings and Precautions section (id. ¶ 152), in the Post-
20     Marketing Experience section (id. ¶¶ 153, 154), in the Patient Counseling Information
21     section (id. ¶ 155), and as side effects in the Patient Information sheet (id. ¶ 156). Despite
22     the plain warnings regarding neuropsychiatric events and Dr. Arango’s testimony that at
23     the time he prescribed montelukast to Bueno, he was familiar with its risks and benefits
24     (Doc. No. 90-31, Defs.’ Ex. 28 [Arango Dep.] at 16:15-18; 17:14-18), Plaintiff argues that
25     the warnings in the montelukast label were inadequate (Doc. No. 98 at 6), and disputes
26     whether Dr. Arango was adequately warned of the risks of Singulair (Doc. No. 99 ¶¶ 162,
27
28

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 1     164–66).3 Specifically, Plaintiff asserts that Merck breached its duty to adequately warn
 2     physicians of the neuropsychiatric conditions affiliated with montelukast by failing to take
 3     the following three actions:
 4           (1) Changing the Language of the Prescriber’s Information regarding Adverse
 5               Events - First, Plaintiff argues that Merck could have accepted FDA’s suggestion
 6               to warn that the adverse event reports “are consistent with a drug-induced effect,”
 7               instead of “merely stating that ‘Adverse Events appear consistent with a drug-
 8               induced effect’.” (Doc. No. 98 at 21; see also id. at 7, 17, 33, 36.)
 9           (2) Adding a Contraindication - Second, Plaintiff asserts that “Merck could have
10               added a contraindication for people who were prescribed Singulair for allergic
11               rhinitis and experienced suicidality while taking Singulair.” (Id. at 7; see also
12               id. at 18, 21, 22, 31, 36.)
13           (3) Sending a “Dear doctor” letter following 2020 “black box” warning - Third,
14               Plaintiff asserts that Merck “should have se[n]t a ‘Dear Doctor’ letter notifying
15               prescribers of the Black Box [warning]” because “[i]n March and April 2020
16               medical providers across America—particularly pulmonary specialists—were
17               focused on Covid.” (Id. at 37; see also id. at 15, 21.)
18     ///
19     ///
20     ///
21
22     3
              Plaintiff does not argue that Defendants could have or should have unilaterally added
23     a black box warning to montelukast’s label before 2020. At the August 19, 2024, hearing,
24     Plaintiff conceded that Defendants could not have unilaterally added a black box warning.
       See also Rosewolf v. Merck., 4:22-cv-02072-JSW, slip op. at 15 (N.D. Cal. Dec. 2, 2022)
25     (Plaintiff’s counsel stating in a related case: “Plaintiffs agree that Defendants could not
26     have unilaterally added the Black Box Warning.”). “A black box warning is the strongest
       type of warning allowed in drug labeling, and to ensure their significance is undiluted, use
27     of a black box warning is permitted only where specifically required by the FDA.” Amos
28     v. Biogen Idec Inc., 249 F. Supp. 3d 690, 694 (W.D.N.Y. 2017).


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 1           Plaintiff does not offer any evidence in support of his argument that Defendants were
 2     negligent by not taking these three recommended actions.4 (Doc. No. 98 at 19–21.) The
 3     expert report of Plaintiff’s expert, Dr. Dima Mazen Qato, PharmD, MPH, PhD, does not
 4     mention, let alone explain, how the language in montelukast’s warning label about
 5     “marketing reports that ‘appear consistent’ with a drug-induced effect” differs in meaning
 6     from, or is inadequate to, the language, “marketing reports that ‘are consistent’ with a drug-
 7     induced effect.” (See generally Doc. No. 100-29, Pl.’s Ex. 20.) She also does not offer
 8     any opinion or evidence on contraindications for individuals experiencing suicidal
 9     ideations or suicidality, or “Dear doctor” letters. (Id.) Furthermore, Plaintiff does not
10     challenge Defendants’ argument that the labeling critiques that appear in Dr. Qato’s report
11     concerning recommended warnings to “pediatric populations,” modified instructions in
12     dosage and administration for “adolescents,” and the “food effects” on levels of
13     montelukast (see id. at 14–15), have no relevance to Bueno, who was an adult when he was
14     first prescribed montelukast and has never alleged an inadequacy of montelukast’s label
15     with respect to “food effects” (Doc. No. 90-1 at 22).5 While Dr. Qato’s report generally
16     indicates that “the manufacturer (Merck) should have anticipated, monitored, and/or
17     warned about . . . neuropsychiatric risks” (Doc. No. 100-29 at 14), she does not explain
18     how the neuropsychiatric warnings that existed on the montelukast label were inadequate.
19     See Oregon v. Bos. Sci. Corp., 2022 WL 1607960, at *4 (E.D. Cal. May 20, 2022)
20     (“‘[M]erely stating that the Defendants failed to ‘adequately warn’ of [the alleged injury]
21     is a bare legal conclusion’ and would be insufficient to state a cognizable failure to warn
22     claim.” (quoting Marroquin v. Pfizer, Inc., 367 F. Supp. 3d 1152, 1161 (E.D. Cal. 2019))).
23
24
25     4
              Plaintiff does not dispute that prior to Defendants’ filing their motion for summary
       judgment, Plaintiff withdrew his “warnings expert,” Jack E. Fincham, PhD, R.Ph. (Doc.
26
       No. 90-1 at 21.)
27     5
              At the August 19, 2024, hearing, Plaintiff’s counsel conceded that the sections of
       Dr. Qato’s report regarding inadequate warnings for children, adolescents, and the “food
28
       effects” of montelukast (Doc. No. 100-29 at 14–15), have no relevance to this case.

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 1           The same is true of the report written by Plaintiff’s other expert, Dr. David Healy.
 2     (Doc. No. 100-39, Pl.’s Ex 28.) Dr. Healy does not discuss any specific inadequacies in
 3     the Singulair or montelukast label.6 (See generally id.)
 4           Because no evidence has been proffered to prove how Singulair’s label was
 5     inadequate for physicians prescribing montelukast to adults like Bueno, Plaintiff has failed
 6     to carry his burden of demonstrating that he has sufficient evidence to allow a jury to
 7     determine that the warnings on the Singulair label were inadequate. Thus, Defendants are
 8     entitled to summary judgment of Plaintiff’s remaining claims on this basis. See Garber v.
 9     United States, 2017 WL 797096, at *8 (C.D. Cal. Feb. 27, 2017), aff’d, 709 F. App’x 485
10     (9th Cir. 2018) (“[T]he adequacy of defendant’s warnings [is] beyond the common
11     knowledge of a layperson.       Accordingly, [it] must be established through expert
12     testimony.”); Rodman, 564 F. Supp. 3d. at 891 (granting summary judgment on failure-to-
13     warn claim after excluding plaintiff’s expert’s labeling opinions because “[w]hether a
14     warning is adequate depends on how a prescribing doctor would understand the label”
15     (internal quotation marks and citations omitted)); Kamerik v. Depuy Orthopedics, Inc.,
16     2013 WL 12322041, *4 (C.D. Cal. Jan. 28, 2013) (granting summary judgment on
17     negligence and warnings-based claims in the absence of expert testimony as the standard
18     of care for manufacturer of complex medical device was “‘beyond the common knowledge
19     of [laypeople]’” (quoting Torres v. Taser Int’l, Inc., 277 F. App’x 684, 687 (9th Cir.
20     2008))); see also Anderson, 477 U.S. at 257 (explaining that “in order to defeat a properly
21     supported motion for summary judgment,” a plaintiff must present “affirmative evidence”
22     “from which a jury might return a verdict in his favor”).
23                  B.    Causation
24           Since Plaintiff does not prevail on demonstrating the inadequacy of the Singulair
25     warning label, causation is rendered moot. Nevertheless, the Court will address causation.
26
27
       6
             At the August 19, 2024 hearing, Plaintiff conceded that Plaintiff does not rely on Dr.
28
       Healy’s report for any evidence of inadequacies in the Singulair or montelukast label.

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 1     Plaintiff bears the burden of proving that any inadequacies by Defendants in warning
 2     Plaintiff’s physicians of the risks associated with Singulair caused his injuries. See Himes,
 3     16 Cal. 5th at 222–23. To prove causation, the plaintiff must prove that a failure to warn
 4     was a “substantial factor” in causing the injury. Id. at 222.
 5            Two individuals prescribed Plaintiff montelukast: (1) Dr. Arango, and (2) Dr.
 6     Schwartz. (Doc. No. 99 ¶¶ 158, 168, 180.) However, because Plaintiff does not address
 7     causation as to Dr. Schwartz in his opposition to Defendants’ motion for summary
 8     judgment (see generally Doc. No. 98), Plaintiff has failed to demonstrate a triable issue of
 9     fact regarding causation as to Dr. Schwartz. See Hartranft v. Encore Capital Group., Inc.,
10     543 F. Supp. 3d 893, 913 (S.D. Cal. 2021) (“[W]here a non-moving party fails to address
11     an argument raised by the moving party in the opposition brief, the Court may consider
12     any arguments unaddressed by the non-moving party as waived.”); see also Pacific Dawn
13     LLC v. Pritzker, 831 F.3d 1166, 1178 n.7 (9th Cir. 2016) (noting that because “plaintiffs
14     did not raise . . . [the] argument to the district court in their . . . opposition to the defendants’
15     motion for summary judgment. . . the argument was waived”). Accordingly, the Court will
16     only address the extent to which any inadequacies to the montelukast label might have
17     affected Dr. Arango’s prescribing decision, thereby causing injury to Bueno.
18            As to causation, Plaintiff has not raised a triable issue of fact. Plaintiff has not
19     demonstrated that Dr. Arango would have changed his prescribing decisions had
20     Defendants followed any of Plaintiff’s three proposals to: (1) accept FDA’s suggestion to
21     warn that the adverse event reports “are consistent with a drug-induced effect,” rather than
22     that adverse event reports “appear consistent with a drug-induced effect,” (2) add a
23     contraindication for patients with allergic rhinitis “who experienced suicidality while
24     taking Singulair,” or (3) issue a “Dear doctor” letter to physicians following the addition
25     of the black box warning in 2020. (See Doc. No. 107 at 9.)
26            First, there is no expert testimony that a label change stating that adverse event
27     reports “are consistent” with a drug-induced effect, would have changed a physician’s
28     decision to prescribe montelukast to Bueno compared to the label at the time Dr. Arango

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 1     prescribed the medication to Bueno, which stated that adverse event reports “appear
 2     consistent” with a drug-induced effect. (Doc. No. 99 ¶ 152.) After Dr. Arango was shown
 3     a January 13, 2009, FDA communication intended to “reflect[] FDA’s current analysis of
 4     available data concerning [Singulair]” that included the “are consistent” language, and
 5     asked whether this language changed the way he prescribed Singulair, he testified, “No,
 6     not really.” (Doc. No. 107-5, Defs.’ Ex. 102 [Arango Dep.] at 4:8–6:19.)7 Without any
 7     evidence from an expert, Plaintiff does not meet his burden to prove that changing, “appear
 8     consistent” to “are consistent” on the Singulair label, would materially affect his
 9     physician’s prescribing decisions. See Anderson, 477 U.S. at 257 (explaining that “in order
10     to defeat a properly supported motion for summary judgment,” a plaintiff must present
11     “affirmative evidence” “from which a jury might return a verdict in his favor”).
12           Second, Plaintiff does not raise a triable issue of fact with respect to Plaintiff’s
13     proposed contraindication for patients prescribed montelukast for allergic rhinitis, or
14     allergies, who experienced suicidality while using Singulair. The record before the Court
15     does not demonstrate that Plaintiff ever reported suicidality or suicidal ideation to Dr.
16     Arango. (Doc. No. 107-5, Defs.’ Ex. 102 [Arango Dep.] at 7:25–8:24, 9:6–10:4, 11:17–
17     12:22, 13:18–14:11, 15:2–16:13, 17:5–18:4.) After Bueno’s first visit with Dr. Arango,
18     Bueno told Dr. Arango that he “felt better” and Dr. Arango testified that “there were no
19
20     7
              The Declaration of Dr. Pablo Arango (Doc. No. 100-40), untimely submitted after
21     the close of discovery and after Dr. Arango’s deposition, improperly addresses
       hypotheticals regarding causation. See United States v. Urena, 659 F.3d 903, 908 (9th Cir.
22
       2011) (agreeing “with [its] sister circuits,” that “a physician’s assessment of the cause of
23     an injury is expert testimony”). Plaintiff did not designate Dr. Arango as an expert witness
       and has not provided a required expert written disclosure under Federal Rule of Civil
24
       Procedure 26(a)(2)(C). Moreover, after Dr. Arango was shown a January 13, 2009, FDA
25     communication intended to “reflect[] FDA’s current analysis of available data concerning
       [Singulair]” that included the “are consistent” language, and asked whether this language
26
       changed the way he prescribed Singulair, he testified, “No, not really.” (Doc. No. 107-5,
27     Defs.’ Ex. 102 [Arango Dep.] at 4:8–6:19.) At the August 19, 2024, hearing, Plaintiff’s
       counsel conceded that Plaintiff only ingested generic montelukast, not the brand-name
28
       Singulair.

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 1     concerns expressed to me.” (Id. at 9:6–10:4.) Other than Bueno requesting montelukast
 2     refills, Bueno never contacted Dr. Arango regarding treatment since November 2019. (Id.
 3     at 25:20-23.) Plaintiff also did not report that he experienced suicidal ideation with Dr.
 4     Schwartz, the physician who prescribed him montelukast in 2020 and 2021. (Doc. No. 99
 5     ¶ 195 (undisputed that “Bueno never told Dr. Schwartz he had depression . . . [or] suicidal
 6     ideation. . . .”).) Bueno’s single suicide attempt was in December 2022 (Doc. No. 107-4,
 7     Defs.’ Ex. 101 at 7:3-7), three years following his last contact with Dr. Arango and at least
 8     a year after his contact with Dr. Schwartz. The evidence does not demonstrate that
 9     Singulair’s label’s omission of Plaintiff’s proposed contraindication caused Plaintiff’s
10     injury.
11           Third, sending Dr. Arango a “Dear doctor” letter following the 2020 addition of the
12     black box warning to the Singulair label would not have changed Dr. Arango’s prescribing
13     decisions for Bueno because Dr. Arango did not treat Bueno after November 2019. (Doc.
14     No. 99 ¶ 167.) Moreover, Plaintiff neither argues, nor presents any evidence that a “Dear
15     doctor” letter would have changed Dr. Schwartz’s prescribing decisions. Given the
16     foregoing, Plaintiff has not proven causation. See Anderson, 477 U.S. at 257.
17           In sum, Plaintiff has failed to present sufficient evidence as to how Plaintiff’s three
18     suggested enhanced label warnings would have altered the conduct of Plaintiff’s
19     prescribing physicians, or even an objectively reasonable consumer’s decision to ingest
20     montelukast.   As such, Defendants are entitled to summary judgment of Plaintiff’s
21     remaining claims on this basis. See Motus v. Pfizer Inc. (Roerig Div.), 358 F.3d 659, 661
22     (9th Cir. 2004) (affirming summary judgment where plaintiff “failed to establish proof that
23     stronger warnings would have changed her husband’s medical treatment or averted his
24     suicide”).
25     IV.   Preemption
26           Even though Defendants are entitled to summary judgment as to Plaintiff’s
27     negligence and negligent misrepresentation claims, the Court will nevertheless address
28     preemption. Defendants argue that even if the Singulair warnings were inadequate,

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 1     Defendants are entitled to summary judgment because Plaintiff’s failure-to-warn claims
 2     are preempted by the federal Food, Drug, and Cosmetic Act (“FDCA”). (Doc. No. 90-1 at
 3     9, 26.)   Specifically, Defendants assert that because a pharmaceutical manufacturer
 4     typically cannot change an FDA-approved drug’s label without the FDA’s preapproval of
 5     any proposed changes, a state’s product liability law is preempted by the FDCA unless the
 6     manufacturer could unilaterally correct the alleged labeling deficiency using the “changes
 7     being effected” (“CBE”) regulation. (Id. at 26–27.) Plaintiff responds that federal law
 8     does not preempt California law, which required Merck to provide a stronger warning, and
 9     Merck could have strengthened its warnings through the CBE process. (Doc. No. 98 at
10     26–37.)
11           Under the Supremacy Clause of the Constitution, “when federal and state law
12     conflict, federal law prevails and state law is preempted.” Knox v. Brnovich, 907 F.3d
13     1167, 1173 (9th Cir. 2018) (quoting New Jersey Thoroughbred Horsemen’s Ass’n v. Nat’l
14     Collegiate Athletic Ass’n, 584 U.S. 453, 471 (2018)). State law includes “state common
15     law or state statutes that require drug manufactures to warn drug consumers of the risks
16     associated with drugs.” Merck Sharp & Dohme Corp. v. Albrecht, 587 U.S. 299, 303
17     (2019). Absent express preemption, state law may be “impliedly pre-empted where it is
18     impossible for a private party to comply with both state and federal requirements.” Mut.
19     Pharm. Co. v. Bartlett, 570 U.S. 472, 480 (2013) (internal quotation marks and citation
20     omitted). The question of preemption is “one for a judge to decide, not a jury.” Albrecht,
21     587 U.S. at 303.
22           The federal law at issue here is the “statutory and regulatory scheme through which
23     the FDA regulates the information that appears on brand-name prescription drug labels.”
24     Id. “Prospective drug manufacturers work with the FDA to develop an appropriate label
25     when they apply for FDA approval of a new drug.” Id. at 304. Because research about
26     drug safety may evolve over time, drug manufacturers “generally seek advance permission
27     from the FDA to make substantive changes to their drug labels.” Id. “In general, the FDA
28     must approve any subsequent label change through a supplemental application process.”

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 1     Krantz v. Regeneron Pharms., Inc., 2024 WL 1792769, at *6 (C.D. Cal. Apr. 24, 2024)
 2     (citing 21 C.F.R. § 314.70b(2)(v)(A)). However, the FDA’s CBE regulation “permits drug
 3     manufacturers to change a label to ‘reflect newly acquired information’ if the changes ‘add
 4     or strengthen a . . . warning for which there is ‘evidence of a causal association,’ without
 5     prior approval from the FDA.”       Albrecht, 587 U.S. at 314–15 (citing 21 C.F.R. §
 6     314.70(c)(6)(iii)(A)).
 7           The CBE regulation defines the term, “newly acquired information,” as:
 8           [D]ata, analyses, or other information not previously submitted to the
             Agency, which may include (but is not limited to) data derived from new
 9
             clinical studies, reports of adverse events, or new analyses of previously
10           submitted data (e.g., meta-analyses) if the studies, events, or analyses reveal
             risks of a different type or greater severity or frequency than previously
11
             included in submissions to FDA.
12
13     21 C.F.R. § 314.3(b). “Newly acquired information” is not limited to new data, but “also
14     encompasses ‘new analyses of previously submitted data.’” Wyeth v. Levine, 555 U.S.
15     555, 569 (2009) (quoting 73 Fed. Reg. 49603-01, 49604 (Aug. 22, 2008)). This is because
16     “risk information accumulates over time and . . . the same data may take on a different
17     meaning in light of subsequent developments. . . .” Id.; see also id. at 570 (finding that,
18     “[i]n later years, as amputations continued to occur, Wyeth could have analyzed the
19     accumulating data and added a stronger warning about IV-push administration of the
20     drug”).
21           In conducting a preemption analysis in pharmaceutical litigation, “[w]hether federal
22     and state laws irreconcilably conflict entails the threshold inquiry of whether there is
23     ‘newly acquired information’ to support a CBE submission.”            In re Incretin-Based
24     Therapies Prod. Liab. Litig., 524 F. Supp. 3d 1007, 1018 (S.D. Cal. 2021), aff’d, 2022 WL
25     898595 (9th Cir. Mar. 28, 2022) (quoting Albrecht, 587 U.S. at 314); see also Krantz v.
26     Regeneron Pharms., Inc., 2024 WL 1792769, at *7 (C.D. Cal. Apr. 24, 2024) (“In the
27     context of preemption by the FDCA of claims of failure-to-warn, the burden is first on the
28     Plaintiffs to allege facts showing that [defendant] could have unilaterally changed [the

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 1     drugs’] label under the CBE regulation”) (internal quotation marks and citation omitted).
 2     “If the answer is no, then the state law claim is preempted.” In re Incretin, 524 F. Supp.
 3     3d at 1018; see also Knight v. Boehringer Ingelheim Pharm., Inc., 984 F.3d 329, 332 (4th
 4     Cir. 2021) (finding that because the manufacturer did not have “newly acquired
 5     information” to unilaterally change its label, the state law claim is preempted). “If the
 6     answer is yes, then the Court considers whether there is clear evidence that ‘the drug
 7     manufacturer fully informed the FDA of the justifications for the warning required by state
 8     law and that the FDA, in turn, informed the drug manufacturer that the FDA would not
 9     approve a change to the drug’s label to include that warning.’” In re Incretin, 524 F. Supp.
10     3d at 1018 (quoting Albrecht, 587 U.S at 315).
11           In the context of pharmaceutical litigation, “[i]mpossibility pre-emption is a
12     demanding defense.” Wyeth, 555 U.S. at 573. Because the CBE regulation permits
13     manufacturers to make changes effective immediately while pending FDA review, “a drug
14     manufacturer will not ordinarily be able to show that there is an actual conflict between
15     state and federal law such that it was impossible to comply with both.” Albrecht, 587 U.S.
16     at 315. Nevertheless, a drug manufacturer “cannot propose a change that is not based on
17     reasonable evidence.” Id.
18                  A.     CBE Change Prior to 2008
19           Plaintiff first argues that prior to 2008, before the codification of the “newly acquired
20     information” requirement, Merck “could have submitted a label change based on the many
21     adverse event reports that were piling up” or “could have provided to the FDA the very
22     simply [sic] calculation Dr. Qato provided.” (Doc. No. 98 at 31.) Plaintiff does not cite to
23     any evidence of “the many adverse event reports that were piling up” (id.), nor does
24     Plaintiff cite to the “simpl[e] calculation” to which he refers. (See generally Doc. No. 98.)8
25
26     8
              In Plaintiff’s Statement of Undisputed Facts, Plaintiff refers to a “simple analysis”
27     performed by Dr. Qato that could possibly reference the “simple calculation” to which he
       refers here. (See Doc. No. 101 ¶ 48 (“Merck performed a 400-page analysis of this
28
       information, but as Dr. Qato demonstrated, an epidemiologist could perform a simple

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 1     Without evidence to substantiate his assertion, Plaintiff does not meet his burden to prove
 2     that prior to 2008, Merck could have submitted a CBE label change. See Opara v. Yellen,
 3     57 F.4th 709, 728 (9th Cir. 2023) (mere conclusory allegations are insufficient to raise a
 4     fact issue that would preclude summary judgment).
 5                   B.      CBE Change Following 2008 “Newly Acquired Information”
                             Requirement
 6
              Following the 2008 addition of the “newly acquired information” requirement in the
 7
       CBE regulation, 21 C.F.R. § 314.3(b), Plaintiff argues “two forms of ‘newly acquired
 8
       information,’” could have justified a CBE change to Singulair’s label: (1) “[a]pproximately
 9
       ten thousand reports regarding neuropsychiatric adverse events [that] were in the FDA
10
       database[,]” “any one” of which could have been “sufficient to justify a label change” (Doc.
11
       No. 98 at 33), and (2) “the more mathematically rigorous calculations of existing Merck
12
       clinical trials” (id. at 31).
13
14                           1. Adverse Event Reports in the FDA Database

15            Information previously made available to the FDA does not constitute “newly
16     acquired information.” See In re Incretin, 524 F. Supp. 3d at 1023 (citing 21 C.F.R. §
17     314.3); see also Roshkovan v. Bristol-Myers Squibb Co., No. 221CV08590FWSAGR,
18     2023 WL 6787444, at *7 (C.D. Cal. Sept. 19, 2023) (dismissing failure-to-warn
19     negligence claim on preemption grounds because allegations of adverse-event reports in
20     the FAERS, “a public dashboard maintained by the FDA,” did not sufficiently allege
21     “newly acquired information,” but rather “suggest[ed] that the FDA was aware of the
22     adverse event reports but did not take further action”). Plaintiff concedes that the adverse
23     event reports at issue “were in the FDA database.” (Doc. No. 98 at 33.) These adverse
24     events therefore do not constitute “newly acquired evidence.” See 21 C.F.R. § 314.3(b)
25
26
       analysis in five to ten minutes to see this data is flawed.”).) However, it is undisputed that
27     Dr. Qato performed her analysis using data published in 2009 (Doc. No. 99 ¶¶ 206, 207),
28     which would not have been available to Defendants prior to 2008.


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 1     (Newly acquired information is “data, analyses, or other information not previously
 2     submitted to the Agency. . . .”).
 3           Plaintiff also does not attempt to explain how “any one” of the adverse event reports
 4     “reveal[ed] risks of a different type or greater severity or frequency than previously
 5     included in submissions to FDA.” 21 C.F.R. § 314.3(b). Nor does Plaintiff explain how
 6     any of the adverse event reports revealed a causal relationship between montelukast and
 7     the adverse event that could justify a CBE change. See Utts v. Bristol-Myers Squibb Co.,
 8     251 F. Supp. 3d 644, 664 (S.D.N.Y. 2017), aff’d sub nom. Gibbons v. Bristol-Myers
 9     Squibb Co., 919 F.3d 699 (2d Cir. 2019) (“[T]he mere existence of reports of adverse
10     events . . . says nothing in and of itself about whether the drug is causing the adverse
11     events.” (quoting Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011)) (applying
12     California law)). Here, Plaintiff’s vague citation to “[a]pproximately ten thousand reports
13     regarding neuropsychiatric adverse events” that “were in the FDA database” (Doc. No. 98
14     at 33), does not constitute “newly acquired information” and does not defeat Defendants’
15     preemption defense.
16                         2. Dr. Qato’s recalculation of Merck’s clinical trial data
17           Plaintiff next asserts that Dr. Qato’s analysis of existing Merck clinical trial data can
18     constitute “newly acquired information.” (Id. at 33–34.) Plaintiff points to Dr. Qato’s
19     analysis of data that Merck had previously submitted to the FDA, and subsequently
20     published in 2009 in the peer-reviewed Journal of Allergy and Clinical Immunology, (“the
21     Philip Paper”). (Doc. No. 90-61, Defs.’ Ex. 58) (Philip, et al., Analysis of behavior-related
22     adverse experiences in clinical trials of montelukast, 124(4) J. Allergy Clin. Immunol. 699
23     (Oct. 2009)).     The Philip Paper concluded that “[r]eports of [behavior-related adverse
24     experiences] were infrequent in clinical trials of montelukast. Those leading to study
25     discontinuation or considered serious were rare. Frequencies were similar regardless of
26     treatment group.” (Id. at 2.) Plaintiff’s expert, Dr. Qato, argues that the conclusions in the
27     Philip Paper are “flawed” and that the paper includes “a miscalculation of their statistical
28     analysis that erroneously concludes that montelukast is not significantly associated with

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 1     such [neuropsychiatric effects] risk.” (Doc. No. 90-100, Defs.’ Ex. 96 at 11.) In 2023-
 2     2024, Dr. Qato conducted her own calculations, finding that montelukast is significantly
 3     associated with behavior-related adverse experiences. (Id. at 12; Doc. No. 100-29, Pl.’s
 4     Ex. 20 at 52, 54.)
 5           The Court rejects Plaintiff’s argument.       While “new analyses of previously
 6     submitted data” can constitute “newly acquired information” in certain circumstances, 21
 7     C.F.R. § 314.3(b), new analyses do not comprise “newly acquired information” when
 8     “conducted by an expert in preparation for litigation with the benefit of hindsight.” R.S.B.
 9     v. Merck & Co., 2021 WL 6128161, *4 (E.D. Wis. Dec. 28, 2021); see also In re Incretin,
10     524 F. Supp. 3d at 1024–25 (finding “expert report [that] was generated in preparation for
11     litigation and . . . not supported by published research” did not constitute “newly acquired
12     information”); see also In re Zofran (Ondansetron) Prod. Liab. Litig., 57 F.4th 327, 340
13     (1st Cir. 2023) (“expert report [that] was not prepared, and thus not available to or
14     possessed by [manufacturer], until [after plaintiff filed complaint] . . . cannot serve as
15     newly acquired information that would have triggered an obligation by [manufacturer] to
16     unilaterally amend Zofran’s label . . . .”). Additionally, “asserting that [a] manufacturer
17     could or should have done more studies—i.e., that a manufacturer should have created the
18     ‘newly acquired information’—is insufficient to avoid preemption under the CBE
19     regulation.”   Holley v. Gilead Scis., Inc., 2023 WL 6390598, at *8 (N.D. Cal. Sept. 28,
20     2023).
21           Here, Dr. Qato’s “five to ten minute[]” “simple analysis” conducted after Plaintiff
22     filed the complaint, cannot constitute “newly acquired information” that would justify a
23     CBE label change. (See Doc. No. 98 at 13; see also Doc. No. 100-30, Pl.’s Ex. 21 [Qato
24     Dep.] at 55:3-7 (Dr. Qato testifying that her recalculations of Merck’s trial data took “five
25     to ten minutes.”).) Dr. Qato conducted her recalculation analyses after having been
26     retained as an expert for Plaintiffs Parker and Bueno in the related Bueno litigation. (Doc.
27     No. 100-30, Pl.’s Ex. 21 [Qato Dep.] at 52:15-22, 54:7-13.) Because Dr. Qato’s analysis
28     was conducted in preparation for litigation and is unsupported by any published research,

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 1     it does not constitute “newly acquired information.” See R.S.B. by & through Hammar v.
 2     Merck & Co., 2022 WL 3927868, at *4 (E.D. Wis. Aug. 31, 2022) (granting Merck’s
 3     motion for summary judgment on preemption grounds in case involving products
 4     liability/negligence claims involving Singulair and explaining “even were the Court to
 5     consider Dr. Qato’s opinion, her conclusions are litigation-driven and unsupported by any
 6     published research, and therefore do not constitute newly acquired information”); see also
 7     In re Incretin, 524 F. Supp. 3d at 1024–25 (“Additionally, to the extent Plaintiffs argue that
 8     their expert’s re-analysis of the slide images . . . amounts to newly acquired information,
 9     the Court disagrees. This expert report was generated in preparation for litigation and is
10     not supported by published research.”) (internal citations omitted); see also R.S.B., 2021
11     WL 6128161, *4 (“Plaintiffs are not entitled to create their own ‘newly acquired
12     information’ through the use of experts.”).
13             Further, even if the Court were to assume that Dr. Qato’s analysis was timely, her
14     analysis is insufficient to support a CBE label change. “[N]ew analyses of previously
15     submitted data” could only prompt a CBE label change if the new analyses are “based on
16     reasonable evidence.” Albrecht, 587 U.S. at 315. Put simply, the new analyses must
17     provide “reliable evidence of new risks.” Knight, 984 F.3d at 340 (quoting Roberto v.
18     Boehringer Ingelheim Pharms., Inc., 2019 WL 5068452, at *16 (Conn. Super. Ct. Sept.
19     11, 2019)). To evaluate whether new analyses may be “newly acquired information” to
20     support a CBE submission, it is appropriate to consider the information “against the
21     backdrop of the FDA’s year-long attention to, and evaluation of, the [specific safety issue
22     raised by Plaintiff].” In re Incretin, 524 F. Supp. 3d at 1018–19.
23           Prior to Dr. Qato’s 2023-2024 recalculations of Merck clinical trial data (Doc. No.
24     100-30, Pl.’s Ex. 21 [Qato Dep.] at 52:15-22, 54:7-13), Merck and the FDA had “devoted
25     considerable time and attention” to designing, conducting, implementing, and interpreting
26     clinical trials to evaluate the risk of suicidality (suicidal ideation and behavior) and
27     behavior-related adverse experiences with Singulair, the “specific safety issue raised by
28     plaintiffs.” See In re Incretin, 524 F. Supp. 3d at 1018; (see also Doc. No. 99 ¶¶ 1–66).

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 1     Specifically, in 2008, Merck, in a months-long collaboration with the FDA, drafted a
 2     Statistical Analysis Plan (“SAP”),9 which “intended to be a comprehensive and detailed
 3     description of the strategy, rationale, and statistical techniques that will be used for
 4     retrospective analysis of adjudicated PSRAEs [‘Possibly Suicide-Related’ Adverse
 5     Events] from the montelukast program.” (Doc. No. 99 ¶ 56). The SAP included the
 6     generally accepted methodology requested, and approved, by the FDA by which Merck
 7     was to conduct its clinical trials. (Id. ¶¶ 53–61; Doc. No. 90-50, Defs.’ Ex. 47 at 10 (SAP
 8     identifying the “analysis methods” and “primary method” for Merck to conduct its
 9     analyses of individual montelukast trials).) Merck then analyzed data from more than 40
10     clinical trials and submitted its data to the FDA in two separate submissions, each
11     exceeding 400 pages. (See Doc. No. 90-55, Defs.’ Ex. 52; see also Doc. No. 90-56, Defs.’
12     Ex. 53 at 18 (“In total, 41 completed (as of 25-Apr-2008) placebo-controlled adult . . . and
13     pediatric . . . studies were included in the adjudication process.”).) In October 2009,
14     Merck published its analyses of suicidality and behavior-related adverse events in the
15     Philip Paper. (Doc. No. 99 ¶ 238; Doc. No. 90-61, Defs.’ Ex. 58.)
16           In her report, Dr. Qato opines that a figure in the Philip Paper “depicts incorrect
17     Odds Ratio (OR) estimates and statistical significance (p-value)” such that when she
18     recalculates the Odds Ratio and corresponding p-value to measure statistical significance,
19     she finds that montelukast is “significantly associated with a 21% increased odds or
20     likelihood of experience a [Behavior Related Adverse Event] . . . and for Psychiatric
21     SOC+Other.” (Doc. No. 90-100, Defs.’ Ex. 96 at 11–12.) Her calculations differ from
22     the findings in Merck’s submission to the FDA and in the Philip Paper, which found no
23
24
25     9
              It is undisputed that on March 27, 2008, the FDA initially requested from Merck a
26     “more thorough evaluation of [Merck’s] controlled clinical trial data.” (Doc. No. 99. ¶¶
       43, 44.) Later, on June 19, 2008, the FDA asked Merck to prepare the Statistical Analysis
27     Plan (id. ¶¶ 53–55; Doc. No. 90-49, Defs.’ Ex. 46), which Merck first submitted on August
28     14, 2008 (Doc. No. 99 ¶ 58), and later amended with input from the FDA (id. ¶ 60).


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 1     statistically significant risk of neuropsychiatric adverse events. (Id. at 10; Doc. No. 90-
 2     61, Defs.’ Ex. 58 at 2.)
 3           Dr. Qato’s recalculations of Merck’s clinical trial data cannot constitute “newly
 4     acquired information” because Plaintiff has not demonstrated that her calculations are
 5     reliable or based on the generally accepted methodology approved by the FDA in the SAP.
 6           Indeed, Dr. Qato’s calculations were divorced from the FDA’s requested and
 7     generally accepted methodology. Dr. Qato describes her odds-ratio as a “crude” analysis
 8     (Doc. 90-99, Defs.’ Ex. 95 [Qato Dep.] at 16:16-21), meaning a “calculation with an
 9     unadjusted rate of incidence and odds ratio” (Doc. No. 102 at 8). Her “crude estimates”
10     deviated from the SAP’s methodology that required Merck to make adjustments to the
11     odds ratio calculation “to account for the heterogeneity of the underlying studies.” (Doc.
12     No. 89-1 at 21; Doc. No. 90-50, Defs.’ Ex. 47 at 10–11; see also Doc. No. 99 ¶ 211
13     (undisputed that Dr. Qato did not review the statistical analysis plan, despite testifying
14     that it would be helpful to do so).) “[F]ailing to take account of likely confounders by
15     presenting and relying upon only unadjusted (or minimally adjusted) estimates is a serious
16     methodological concern.” In re Roundup Prod. Liab. Litig., 390 F. Supp. 3d 1102, 1140
17     (N.D. Cal. 2018), aff’d sub nom. Hardeman v. Monsanto Co., 997 F.3d 941 (9th Cir.
18     2021). More than just an oversight, neglecting to account for relevant evidence in
19     conducting her analysis calls into question the reliability of her methods and the
20     reasonableness of her conclusions. See Carnegie Mellon Univ. v. Hoffmann-LaRoche,
21     Inc., 55 F. Supp. 2d 1024, 1039 (N.D. Cal. 1999) (excluding expert’s proposed testimony
22     and noting that he ignored available information and samples); In re Mirena Prods.
23     Liability. Litig. (No. II), 341 F. Supp. 3d 213, 242 (S.D.N.Y. 2018), aff’d sub nom. In re
24     Mirena IUS Levonorgestrel-Related Prod. Liab. Litig. (No. II), 982 F.3d 113 (2d Cir.
25     2020) (explaining that when an expert “ignores evidence that is highly relevant to his
26     conclusion,” exclusion of the expert’s testimony is warranted).
27           Additionally, in Plaintiff’s response to Defendants’ Daubert motion, Plaintiff
28     recognizes, but does not dispute, Defendants’ characterization that Dr. Qato “came to a

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 1     faulty mathematical conclusion because she used some of the information in one of the
 2     table[s] in Dr. Philip’s publication that she should not have used.” (Doc. No. 102 at 16.)
 3     While Plaintiff argues, “[i]ncorrectly using a row of numbers in the analysis does not damn
 4     an opinion based on solid methodology” (id.), analyses using incorrect data, unsupported
 5     by published research, cannot constitute reasonable or reliable evidence. See In re
 6     Incretin, 524 F. Supp. 3d at 1025 (“[O]ne unpublished and litigation-driven animal study
 7     does not make a risk apparent or otherwise constitute reasonable evidence of association.”
 8     (internal quotation marks and citation omitted)). The record before the Court does not
 9     support a finding that Dr. Qato’s calculations constitute “reasonable evidence,” Albrecht,
10     587 U.S. at 315, and the Court concludes that Dr. Qato’s analysis does not constitute
11     “newly acquired information.”      As such, Defendants are also entitled to summary
12     judgment of Plaintiff’s remaining claims based on preemption. See, e.g., R.S.B., 2022
13     WL 3927868, at *4–*5 (granting Merck’s motion for summary judgment on preemption
14     grounds in case involving products liability/negligence claims involving Singulair).
15                                          CONCLUSION
16            For the reasons stated above, the Court grants Defendants’ motion for summary
17     judgment regarding Plaintiff’s negligence and negligent misrepresentation claims. The
18     Court directs the Clerk of Court to enter a judgment in favor of Defendants and against
19     Plaintiff.
20            In addition, the Court denies Defendants’ motion to exclude the opinions of Dima
21     Mazen Qato and motion to exclude or limit the opinion testimony of David Healy as moot.
22     The Court also denies Defendants’ motion to strike the declaration of David Healy, motion
23     to strike the declaration of Dima Qato, and motion to strike the declaration of Pablo Arango
24     as moot.
25            IT IS SO ORDERED.
26     DATED: August 27, 2024
27
                                                     MARILYN L. HUFF, District Judge
28                                                   UNITED STATES DISTRICT COURT

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